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Case 8:15-cr-00142-JLS Document 7 Filed 11/16/15 Page 1of29 Page ID #:16

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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
SOUTHERN DIVISION

nBea Ssondhs OF AMERICA, No. oaGa GR 1 ) = Q 0 14 2

Plaintiff, PLEA AGREEMENT FOR DEFENDANT
MITCHELL COHEN

 

 

Vv.
[UNDER SEAL]
MITCHELL G. COHEN,

Defendant.

 

 

 

1. This constitutes the plea agreement between MITCHELL G.
COHEN (“defendant”) and the United States Attorney’s Office for the
Central District of California (the “USAO”) in the above-captioned
case. This agreement is limited to the USAO and cannot bind any
other federal, state, local, or foreign prosecuting, enforcement,
administrative, or regulatory authorities, and is subject to the
approval of the Department of Justice Tax Division.

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Case 8:15-cr-00142-JLS Document 7 Filed 11/16/15 Page 2of29 Page ID #:17

DEFENDANT'S OBLIGATIONS

 

2. Defendant agrees to:

a. Give up the right to indictment by a grand jury and,
at the earliest opportunity requested by the USAO and provided by the
Court, appear and plead guilty to a single count information in the
form attached to this agreement as Exhibit A or a substantially
similar form, which charges defendant with Subscribing to a False Tax
Return in violation of 26 U.S.C. § 7206(1).

b. Not contest facts agreed to in this agreement.

Cc. Abide by all agreements regarding sentencing contained
in this agreement.

d. Appear for all court appearances, surrender as ordered
for service of sentence, obey all conditions of any bond, and obey
any other ongoing court order in this matter.

e. Not commit any crime; however, offenses that would be
excluded for sentencing purposes under United States Sentencing
Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not
within the scope of this agreement.

f£. Be truthful at all times with Pretrial Services, the
United States Probation Office, and the Court.

g. Pay the applicable special assessment at or before the
time of sentencing unless defendant lacks the ability to pay and
prior to sentencing submits a completed financial statement on a form
to be provided by the USAO.

h. Not seek the discharge of any restitution obligation,
in whole or in part, in any present or future bankruptcy proceeding;
and defendant understands that if the court orders the defendant to
pay restitution to the IRS for tax losses, either directly or as a

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Case 8:15-cr-00142-JLS Document 7 Filed 11/16/15 Page 30f 29 Page ID #:18

part of the sentence or as a condition of supervised release, the IRS
has the statutory right (26 U.S.C. § 6201(a) (4)) to use such
restitution order as the basis for a civil assessment and the
defendant does not have the right to challenge such civil assessment
or civil collection of such assessment by the IRS.

3. Defendant further agrees to cooperate with the Internal
Revenue Service in the determination of defendant’s tax liability for
calendar years 2009 through 2012. Defendant agrees that:

a. Defendant will file, prior to the time of sentencing,
amended returns for the years subject to the above admissions,
correctly reporting unreported income; will, if requested to do so by
the Internal Revenue Service, provide the Internal Revenue Service
with information regarding the years covered by the returns; will pay
at or before sentencing all additional taxes and all penalties and
interest assessed by the Internal Revenue Service on the basis of the
returns; and will promptly pay all additional taxes and all penalties
and interest thereafter determined by the Internal Revenue Service to
be owing as a result of any computational errors.

b. Nothing in this agreement forecloses or limits the
ability of the Internal Revenue Service to examine and make
adjustments to defendant’s returns after they are filed.

Cc. Defendant will not, after filing the returns, file any
claim for refund of taxes, penalties, or interest for amounts
attributable to the returns filed in connection with this plea
agreement.

d. Defendant is liable for the fraud penalty imposed by
the Internal Revenue Code, 26 U.S.C. § 6663, on the understatements
of tax liability for calendar years 2009 through 2012.

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|| Case 8:15-cr-00142-JLS Document 7 Filed 11/16/15 Page 4of 29 Page ID #:19

e. Defendant gives up any and all objections that could
be asserted to the Examination Division of the Internal Revenue
Service receiving materials or information obtained during the
criminal investigation of this matter, including materials and
information obtained through grand jury subpoenas.

4. Defendant further agrees:

a. Truthfully to disclose to law enforcement officials,
at a date and time to be set by the USAO, the location of,
defendant’s ownership interest in, and all other information known to
defendant about, all monies, properties, and/or assets of any kind,
derived from or acquired as a result of, or used to facilitate the
commission of, defendant’s illegal activities, and to forfeit all
right, title, and interest in and to such items.

b. To the Court’s entry of an order of forfeiture, in an
amount not to exceed $1,645,225, at or before sentencing with respect
to these assets and to the forfeiture of the assets.

Cc. To take whatever steps are necessary to pass to the
United States clear title to the assets described above, including,
without limitation, the execution of a consent decree of forfeiture
and the completing of any other legal documents required for the
transfer of title to the United States.

d. Not to contest any administrative forfeiture
proceedings or civil judicial proceedings commenced against these
properties.

e. Not to assist any other individual in any effort
falsely to contest the forfeiture of the assets described above.

£. Not to claim that reasonable cause to seize the assets

was lacking.

 
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Case 8:15-cr-00142-JLS Document 7 Filed 11/16/15 Page 5of29 Page ID #:20

g. To prevent the transfer, sale, destruction, or loss of
any and all assets described above to the extent defendant has the
ability to do so.

h. To fill out and deliver to the USAO a completed
financial statement listing defendant’s assets on a form provided by
the USAO.

5. Defendant further agrees to cooperate fully with the USAO,
the Federal Bureau of Investigation, the United States Postal Service
- Office of Inspector General, the Internal Revenue Service, and, as
directed by the USAO, any other federal, state, local, or foreign
prosecuting, enforcement, administrative, or regulatory authority.
This cooperation requires defendant to:

a. Respond truthfully and completely to all questions
that may be put to defendant, whether in interviews, before a grand
jury, or at any trial or other court proceeding.

b. Attend all meetings, grand jury sessions, trials or
other proceedings at which defendant’s presence is requested by the
USAO or compelled by subpoena or court order.

c. Produce voluntarily all documents, records, or other
tangible evidence relating to matters about which the USAO, or its
designee, inquires.

6. For purposes of this agreement: (1) “Cooperation
Information” shall mean any statements made, or documents, records,
tangible evidence, or other information provided, by defendant
pursuant to defendant’s cooperation under this agreement; and
(2) “Plea Information” shall mean any statements made by defendant,
under oath, at the guilty plea hearing and the agreed to factual
basis statement in this agreement.

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Case 8:15-cr-00142-JLS Document 7 Filed 11/16/15 Page 6of 29 Page ID #:21

THE USAO’S OBLIGATIONS

 

7. The USAO agrees to:
a. Not contest facts agreed to in this agreement.
b. Abide by all agreements regarding sentencing contained

in this agreement.

c. At the time of sentencing, provided that defendant
demonstrates an acceptance of responsibility for the offense up to
and including the time of sentencing, recommend a two-level reduction
in the applicable Sentencing Guidelines offense level, pursuant to
U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an
additional one-level reduction if available under that section.

a. Not further criminally prosecute defendant for
defendant’s conduct described in the agreed-to factual basis set
forth in paragraph 16 below. Defendant understands that the USAO is
free to criminally prosecute defendant for any other unlawful past
conduct or any unlawful conduct that occurs after the date of this
agreement. Defendant agrees that at the time of sentencing the Court
may consider the uncharged tax conduct in determining the applicable
Sentencing Guidelines range, the propriety and extent of any
departure from that range, and the sentence to be imposed after
consideration of the Sentencing Guidelines and all other relevant
factors under 18 U.S.C. § 3553 (a).

8. The USAO further agrees:

a. Not to offer as evidence in its case-in-chief in the
above-captioned case or any other criminal prosecution that may be
brought against defendant by the USAO, or in connection with any
sentencing proceeding in any criminal case that may be brought
against defendant by the USAO, any Cooperation Information.

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Case 8:15-cr-00142-JLS Document 7 Filed 11/16/15 Page 7 of 29 Page ID #:22

Defendant agrees, however, that the USAO may use both Cooperation
Information and Plea Information: (1) to obtain and pursue leads to
other evidence, which evidence may be used for any purpose, including
any criminal prosecution of defendant; (2) to cross-examine defendant
should defendant testify, or to rebut any evidence offered, or
argument or representation made, by defendant, defendant’s counsel,
or a witness called by defendant in any trial, sentencing hearing, or
other court proceeding; and (3) in any criminal prosecution of
defendant for false statement, obstruction of justice, or perjury.

b. Not to use Cooperation Information against defendant
at sentencing for the purpose of determining the applicable guideline
range, including the appropriateness of an upward departure, or the
sentence to be imposed, and to recommend to the Court that
Cooperation Information not be used in determining the applicable
guideline range or the sentence to be imposed. Defendant
understands, however, that Cooperation Information will be disclosed
to the probation office and the Court, and that the Court may use
Cooperation Information for the purposes set forth in U.S.S.G.

§ 1B1.8(b) and for determining the sentence to be imposed.

Cc. In connection with defendant’s sentencing, to bring to
the Court’s attention the nature and extent of defendant’s
cooperation.

d. If the USAO determines, in its exclusive judgment,
that defendant has both complied with defendant’s obligations under
paragraphs 2 and 3 above and provided substantial assistance to law
enforcement in the prosecution or investigation of another
(“substantial assistance”), to move the Court pursuant to U.S.S.G.

§ 5K1.1 to fix an offense level and corresponding guideline range

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| Case 8:15-cr-00142-JLS Document 7 Filed 11/16/15 Page 8 of 29 Page ID #:23

below that otherwise dictated by the sentencing guidelines, and to
recommend a term of imprisonment within this reduced range.

DEFENDANT'S UNDERSTANDINGS REGARDING COOPERATION

 

9, Defendant understands the following:

a. Any knowingly false or misleading statement by
defendant will subject defendant to prosecution for false statement,
obstruction of justice, and perjury and will constitute a breach by
defendant of this agreement.

b. Nothing in this agreement requires the USAO or any
other prosecuting, enforcement, administrative, or regulatory
authority to accept any cooperation or assistance that defendant may
offer, or to use it in any particular way.

Cc. Defendant cannot withdraw defendant’s guilty plea if
the USAO does not make a motion pursuant to U.S.S.G. § 5K1.1 fora
reduced guideline range or if the USAO makes such a motion and the
Court does not grant it or if the Court grants such a USAO motion but
elects to sentence above the reduced range.

d. At this time the USAO makes no agreement or
representation as to whether any cooperation that defendant has
provided or intends to provide constitutes or will constitute
substantial assistance. The decision whether defendant has provided
substantial assistance will rest solely within the exclusive judgment
of the USAO.

e. The USAO’s determination whether defendant has
provided substantial assistance will not depend in any way on whether
the government prevails at any trial or court hearing in which
defendant testifies or in which the government otherwise presents
information resulting from defendant’s cooperation.

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Case 8:15-cr-00142-JLS Document 7 Filed 11/16/15 Page 9 of 29 Page ID #:24

NATURE OF THE OFFENSE

 

10. Defendant understands that for defendant to be guilty of
the crime charged in the single count Information, that is,
Subscribing to a False Tax Return, in violation of Title 26, United
States Code, Section 7206(1), the following must be true: (1)
defendant made and signed a tax return for the year 2011 that
defendant knew contained false information as to a material matter;
(2) the return contained a written declaration that it was being
signed subject to the penalties or perjury; and (3) in filing the
false tax return, the defendant acted willfully.

PENALTIES AND RESTITUTION

 

11. Defendant understands that the statutory maximum sentence
that the Court can impose for violating Title 26, United States Code,
Section 7206(1), is: 3 years of imprisonment; a one-year period of
supervised release; a fine of $100,000; and a mandatory special
assessment of $100.

12. Defendant understands and agrees that the Court: (a) may
order defendant to pay restitution in the form of any additional
taxes, interest, and penalties that defendant owes to the United
States based upon the counts of conviction and any relevant tax
conduct, and (b) must order defendant to pay the costs of
prosecution, which may be in addition to the statutory maximum fine
stated above.

13. Defendant understands that supervised release is a period
of time following imprisonment during which defendant will be subject
to various restrictions and requirements. Defendant understands that
if defendant violates one or more of the conditions of any supervised
release imposed, defendant may be returned to prison for all or part

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Case 8:15-cr-00142-JLS Document 7 Filed 11/16/15 Page 10of 29 Page ID #:25

of the term of supervised release authorized by statute for the
offense that resulted in the term of supervised release, which could
result in defendant serving a total term of imprisonment greater than
the statutory maximum stated above.

14. Defendant understands that, by pleading guilty, defendant
may be giving up valuable government benefits and valuable civic
rights, such as the right to vote, the right to possess a firearm,
the right to hold office, and the right to serve on a jury.

Defendant understands that once the court accepts defendant’s guilty
plea, it will be a federal felony for defendant to possess a firearm
Or ammunition. Defendant understands that the conviction in this
case may also subject defendant to various other collateral
consequences, including but not limited to revocation of probation,
parole, or supervised release in another case and suspension or
revocation of a professional license. Defendant understands that
unanticipated collateral consequences will not serve as grounds to
withdraw defendant's guilty plea.

15. Defendant understands that, if defendant is not a United
States citizen, the felony conviction in this case may subject
defendant to: removal, also known as deportation, which may, under
some circumstances, be mandatory; denial of citizenship; and denial
of admission to the United States in the future. The court cannot,
and defendant’s attorney also may not be able to, advise defendant
fully regarding the immigration consequences of the felony conviction
in this case. Defendant understands that unexpected immigration
consequences will not serve as grounds to withdraw defendant’s guilty

plea.

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|Case 8:15-cr-00142-JLS Document 7 Filed 11/16/15 Page 11of29 Page ID #:26

FACTUAL BASIS

16. Defendant admits that defendant is, in fact, guilty of the
offense to which defendant is agreeing to plead guilty. Defendant
and the USAO agree to the statement of facts provided below and agree
that this statement of facts is sufficient to support a plea of
guilty to the charge described in this agreement and to establish the
Sentencing Guidelines factors set forth in paragraph 18 below but is
not meant to be a complete recitation of all facts relevant to the
underlying criminal conduct or all facts known to either party that
relate to that conduct.

Defendant is a board-certified orthopedic spinal surgeon who,
between 2002 and 2013, performed spinal surgeries and related medical
services at Pacific Hospital of Long Beach in Long Beach, California
(“Pacific Hospital”), among other hospitals. Defendant is a resident
of Irvine, California, and controls two corporate bank accounts under
the names Spine Care Center and Mitchell G. Cohen, M.D., Inc.

A. Kickbacks for Spinal Surgeries

Beginning as early as 2008, and continuing until at least 2013,
defendant accepted illegal kickback payments from Michael D. Drobot
(“Drobot”), who owned and/or operated Pacific Hospital, and Marketer
A, in exchange for performing spine surgeries at Pacific Hospital.
Defendant, Drobot, Drobot’s co-conspirators, and Marketer A concealed
the illegal kickback payments from defendant’s patients and the
insurance carriers that paid for defendant’s patient's services.
Defendant and Drobot entered into bogus contracts designed to
disguise the illegal kickback payments from Drobot to defendant under

which defendant purported to perform services for, or receive

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Case 8:15-cr-00142-JLS Document 7 Filed 11/16/15 Page 12 of 29 Page ID #:27

services from, Pacific Hospital and other entities controlled by
Drobot, when in fact few, if any, legitimate services were exchanged.

In particular, Marketer A was paid by Drobot and/or Pacific
Hospital to, among other duties, illegally induce doctors to perform
spinal surgeries at Pacific Hospital through the payment of
kickbacks. Beginning in or around 2009, Marketer A paid defendant
between approximately $5,000 and $15,000 in kickbacks for every
spinal fusion surgery performed at Pacific Hospital. Marketer A paid
kickbacks to defendant in the form of checks and cashier’s checks
drawn from various corporate entities controlled by Marketer A, and
by cash. Between at least 2009 and 2012, defendant deposited
kickback payments from Marketer A primarily into defendant’s Spine
Care Center bank account.

In 2012, Drobot and defendant agreed that Drobot, not Marketer
A, would pay defendant $15,000 in kickbacks for each posterior lumbar
interbody fusion surgery performed at Pacific Hospital, and between
$5,000 and $7,500 in kickbacks for each cervical fusion spine surgery
performed at Pacific Hospital, provided those surgeries were
performed using spinal hardware purchased from International
Implants, LLC (‘“I2"), a medical device distributor owned by Drobot.
Drobot and defendant further agreed that those kickback amounts would
be reduced if defendant did not use I2 hardware in spinal surgeries
performed at Pacific Hospital. Defendant, Drobot, and Drobot’s co-
conspirators monitored and tracked the number and type of surgeries
performed by defendant at Pacific Hospital, and the type of spinal
hardware implanted in patients during those surgeries.

In order to disguise the illegal kickback payments from Drobot
to defendant, defendant entered into two bogus contracts with

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Case 8:15-cr-00142-JLS Document 7 Filed 11/16/15 Page 13 o0f 29 Page ID #:28

Drobot’s business entities. First, in June 2012, defendant entered
into a Research, Product Development and Training Agreement with I2
(the “I2 Agreement”). Under the I2 Agreement, defendant purported to
provide consulting services to I2 in exchange for a monthly payment
of $25,000. Defendant, however, provided few legitimate consulting
services to I2. Instead, the payments to defendant under the 12
Agreement were purely kickbacks for spinal surgeries performed at
Pacific Hospital.

In addition to the I2 Agreement, defendant entered into an
Outsourced Collections Agreement with Pacific Hospital (the
“Collection Agreement”) in June 2012. The Collection Agreement
provided that defendant would assist Pacific Hospital in collecting
its fees for spinal surgeries from insurance carriers, and that in
return Pacific Hospital would pay defendant fifteen percent of the
total amount collected. In reality, however, the collection was done
by Pacific Hospital staff, without assistance from defendant. The
Collection Agreement, like the I2 Agreement, was another mechanism
through which Drobot paid illegal kickbacks to defendant for spinal
surgeries performed by defendant.

As part of his arrangement with Drobot, defendant agreed to
perform spinal surgeries on patients referred to defendant by other
doctors who were also receiving kickbacks from Drobot. In
particular, defendant held office hours in the medical offices of
Doctor A to consult with and perform surgeries on Doctor A’s
patients. Doctor A received kickback payments from Drobot for
patients whose surgeries were performed at Pacific Hospital by

defendant. Defendant did not receive a kickback payment for

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Case 8:15-cr-00142-JLS Document 7 Filed 11/16/15 Page 14 of 29 Page ID #:29

surgeries performed on Doctor A’s patients, but was paid only his
regular professional fee.

In sum, from 2008 to 2013, Pacific Hospital billed insurance
companies approximately $15.8 million in claims for spinal surgeries
performed by defendant, including those for which kickbacks were paid
to defendant or another doctor.

Defendant knew that it was illegal to accept the kickbacks
discussed above. Defendant also knew that, if the insurance carriers
had known that the spinal surgeries for which they were billed
resulted from referrals induced by such kickbacks, those insurance
carriers would not have paid the claims or would have paid a lesser
amount. Moreover, defendant knew that, if his patients had known
that he was receiving such kickbacks, they may have chosen not to
obtain the medical services recommended, or may have chosen to be
treated by different medical professionals or at a different
hospital.

In total, defendant received approximately $1,645,225 in illegal
kickback payments from Drobot and Marketer A between 2008 and 2013.

B. The Pharmacy Agreement

Beginning in or around 2004, defendant entered into an agreement
with California Pharmacy Management (“CPM”), an in-house dispensary
management company owned by Drobot, and later another Drobot entity
Industrial Pharmacy Management (“IPM,” and collectively with CPM, the
“Dispensary Management Companies”), in which the Dispensary
Management Companies purported to manage defendant’s in-office
pharmacy in return for fifty percent of the gross collections
resulting from prescriptions filled at defendant’s pharmacy. In
reality, the Dispensary Management Companies and/or Pacific Specialty

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Case 8:15-cr-00142-JLS Document 7 Filed 11/16/15 Page 15 of 29 Page ID #:30

Physician Management, Inc. (“PSPM”), another company controlled by
Drobot, paid defendant varying amounts averaging between $20,000 and
$40,000 per month as an inducement to allow the Dispensary Management
Companies to operate defendant’s in-office pharmacy and to gain
access to defendant’s patients including, in particular, defendant's
worker’s compensation payments. Defendant was paid monthly
regardless of the pharmacy’s gross collections, which rarely, if
ever, met or exceeded the monthly payment made to defendant. At
times, defendant was paid kickbacks through the Dispensary Management
Companies for spinal surgeries he referred to and performed at
Pacific Hospital.

Cc. Defendant’s 2009-2012 Individual Income Tax Returns

Between 2009 and 2012, defendant deposited the substantial
majority of his kickback payments into his Spine Care Center
corporate bank account. Spine Care Center, however, had no
legitimate business purpose other than acting as the recipient entity
for defendant's illegal kickback payments. In 2009, 2010, 2011, and
2012, defendant caused Spine Care Center to file a Corporation Income
Tax Return, Form 1120, claiming the illegal kickback payments as
gross receipts of Spine Care Center. Defendant knew, however, that
the illegal kickback payments were not gross receipts of Spine Care
Center, but instead should have been reported as individual income on
defendant’s Individual Income Tax Return, Form 1040 (“Form 1040”).
Defendant further knew that there are no legitimate business expenses
or management fees associated with accepting kickback payments.

For the years 2009, 2010, 2011, and 2012, in Orange County,
California, within the Central District of California, defendant
knowingly and willfully signed and filed, under penalty of perjury,

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Case 8:15-cr-00142-JLS Document 7 Filed 11/16/15 Page 16 of 29 Page ID #:31

Form 1040s that did not report the illegal kickback payments as
income, and therefore substantially underreported defendant’s total
income. More specifically, defendant failed to report the following
amounts of individual income on defendant's Form 1040s during the
specified years: $243,000 in 2009, $214,100 in 2010, $426,335 in
2011, and $394,611 in 2012. Had defendant properly reported this
income on his Form 1040s, defendant would have been assessed an
additional $402,139 in individual income tax. With respect to tax
year 2011 in particular, on February 21, 2012, defendant knowingly
and willfully signed and filed, under penalty of perjury, a Form 1040
that reported on line 22 that his total income was $337,678, when in
fact, as defendant knew, his true income was substantially higher.

SENTENCING FACTORS

 

17. Defendant understands that in determining defendant's
sentence the Court is required to calculate the applicable Sentencing
Guidelines range and to consider that range, possible departures
under the Sentencing Guidelines, and the other sentencing factors set
forth in 18 U.S.C. § 3553(a). Defendant understands that the
Sentencing Guidelines are advisory only, that defendant cannot have
any expectation of receiving a sentence within the calculated
Sentencing Guidelines range, and that after considering the
Sentencing Guidelines and the other § 3553(a) factors, the Court will
be free to exercise its discretion to impose any sentence it finds
appropriate up to the maximum set by statute for the crime of
conviction.

18. Defendant and the USAO agree to the following applicable

Sentencing Guidelines factors:

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Case 8:15-cr-00142-JLS Document 7 Filed 11/16/15 Page 17 of 29 Page ID #:32

Base Offense Level: 20 {U.S.S.G. § 2T4.1(H)]

Specific Offense

Characteristics:

 

Income from criminal activity +2 [(U.S.S.G. § 2T1.1(b) (1)]
Adjustments:

Acceptance of Responsibility -3 [(U.S.S.G. § 3E1.1]
Total Offense Level: 19

 

The USAO will agree to a two-level downward adjustment for acceptance
of responsibility (and, if applicable, move for an additional one-
level downward adjustment under U.S.S.G. § 3E1.1(b)) only if the
conditions set forth in paragraph 7(c) are met. Subject to paragraph
8 above and paragraph 30 below, defendant and the USAO agree not to
seek, argue, or suggest in any way, either orally or in writing, that
any other specific offense characteristics, adjustments, or
departures relating to the offense level be imposed. Defendant
agrees, however, that if after signing this agreement but prior to
sentencing, defendant were to commit an act, or the USAO were to
discover a previously undiscovered act committed by defendant prior
to signing this agreement, which act, in the judgment of the USAO,
constituted obstruction of justice within the meaning of U.S.S.G.

§ 3C1.1, the USAO would be free to seek the enhancement set forth in
that section.

19. Defendant understands that there is no agreement as to
defendant’s criminal history or criminal history category.

20. Defendant and the USAO reserve the right to argue for a
sentence outside the sentencing range established by the Sentencing
Guidelines based on the factors set forth in 18 U.S.C. § 3553(a) (1),
(a) (2), (a) (3), (a) (6), and (a) (7).

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Case 8:15-cr-00142-JLS Document 7 Filed 11/16/15 Page 18 of 29 Page ID #:33

WAIVER OF CONSTITUTIONAL RIGHTS

 

21. Defendant understands that by pleading guilty, defendant

gives up the following rights:

a. The right to persist in a plea of not guilty.

b. The right to a speedy and public trial by jury.

Cc. The right to be represented by counsel - and if
necessary have the court appoint counsel - at trial. Defendant

understands, however, that, defendant retains the right to be
represented by counsel - and if necessary have the court appoint
counsel - at every other stage of the proceeding.

d. The right to be presumed innocent and to have the
burden of proof placed on the government to prove defendant guilty
beyond a reasonable doubt.

e. The right to confront and cross-examine witnesses
against defendant.

£. The right to testify and to present evidence in
opposition to the charges, including the right to compel the
attendance of witnesses to testify.

g. The right not to be compelled to testify, and, if
defendant chose not to testify or present evidence, to have that
choice not be used against defendant.

h. Any and all rights to pursue any affirmative defenses,
Fourth Amendment or Fifth Amendment claims, and other pretrial
motions that have been filed or could be filed.

WAIVER OF APPEAL OF CONVICTION

 

22. Defendant understands that, with the exception of an appeal
based on a claim that defendant’s guilty plea was involuntary, by
pleading guilty defendant is waiving and giving up any right to

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Case 8:15-cr-00142-JLS Document 7 Filed 11/16/15 Page 19 of 29 Page ID #:34

appeal defendant’s conviction on the offense to which defendant is
pleading guilty.
LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

23. Defendant agrees that, provided the Court imposes a total
term of imprisonment on all counts of conviction of no more than the
statutory maximum, defendant gives up the right to appeal all of the
following: (a) the procedures and calculations used to determine and
impose any portion of the sentence; (b) the term of imprisonment
imposed by the Court; (c) the fine imposed by the court, provided it
is within the statutory maximum; (d) the amount and terms of any
restitution order, provided it requires payment of no more than
$402,139; (e) the term of probation or supervised release imposed by
the Court, provided it is within the statutory maximum; and (f) any
of the following conditions of probation or supervised release
imposed by the Court: the conditions set forth in General Orders 318,
01-05, and/or 05-02 of this Court; the drug testing conditions
mandated by 18 U.S.C. §§ 3563(a)(5) and 3583(d); and the alcohol and
drug use conditions authorized by 18 U.S.C. § 3563(b) (7).

24. The USAO agrees that, provided (a) all portions of the
sentence are at or below the statutory maximum specified above, the
USAO gives up its right to appeal any portion of the sentence, with
the exception that the USAO reserves the right to appeal the amount
of restitution ordered.

RESULT OF WITHDRAWAL OF GUILTY PLEA

 

25. Defendant agrees that if, after entering a guilty plea
pursuant to this agreement, defendant seeks to withdraw and succeeds
in withdrawing defendant’s guilty plea on any basis other than a
claim and finding that entry into this plea agreement was

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Case 8:15-cr-00142-JLS Document 7 Filed 11/16/15 Page 20 of 29 Page ID #:35

involuntary, then (a) the USAO will be relieved of all of its
obligations under this agreement, including in particular its
obligations regarding the use of Cooperation Information; (b) in any
investigation, criminal prosecution, or civil, administrative, or
regulatory action, defendant agrees that any Cooperation Information
and any evidence derived from any Cooperation Information shall be
admissible against defendant, and defendant will not assert, and
hereby waives and gives up, any claim under the United States
Constitution, any statute, or any federal rule, that any Cooperation
Information or any evidence derived from any Cooperation Information
should be suppressed or is inadmissible; and (c) should the USAO
choose to pursue any charge or any civil, administrative, or
regulatory action that was either dismissed or not filed as a result
of this agreement, then (i) any applicable statute of limitations
will be tolled between the date of defendant’s signing of this
agreement and the filing commencing any such action; and

(ii) defendant waives and gives up all defenses based on the statute
of limitations, any claim of pre-indictment delay, or any speedy
trial claim with respect to any such action, except to the extent
that such defenses existed as of the date of defendant’s signing this
agreement.

EFFECTIVE DATE OF AGREEMENT

 

26. This agreement is effective upon signature and execution of
all required certifications by defendant, defendant’s counsel, and an
Assistant United States Attorney.

BREACH OF AGREEMENT

 

27. Defendant agrees that if defendant, at any time after the
Signature of this agreement and execution of all required

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Case 8:15-cr-00142-JLS Document 7 Filed 11/16/15 Page 210f29 Page ID #:36

certifications by defendant, defendant's counsel, and an Assistant
United States Attorney, knowingly violates or fails to perform any of
defendant’s obligations under this agreement (“a breach”), the USAO
may declare this agreement breached. For example, if defendant
knowingly, in an interview, before a grand jury, or at trial, falsely
accuses another person of criminal conduct or falsely minimizes
defendant's own role, or the role of another, in criminal conduct,
defendant will have breached this agreement. All of defendant's
obligations are material, a single breach of this agreement is
sufficient for the USAO to declare a breach, and defendant shall not
be deemed to have cured a breach without the express agreement of the
USAO in writing. If the USAO declares this agreement breached, and
the Court finds such a breach to have occurred, then:

a. If defendant has previously entered a guilty plea
pursuant to this agreement, defendant will not be able to withdraw
the guilty plea.

b. The USAO will be relieved of all its obligations under
this agreement; in particular, the USAO: (i) will no longer be bound
by any agreements concerning sentencing and will be free to seek any
sentence up to the statutory maximum for the crime to which defendant
has pleaded guilty; (ii) will no longer be bound by any agreements
regarding criminal prosecution, and will be free to criminally
prosecute defendant for any crime, including charges that the USAO
would otherwise have been obligated to dismiss or not to criminally
prosecute pursuant to this agreement; and (iii) will no longer be
bound by any agreement regarding the use of Cooperation Information

and will be free to use any Cooperation Information in any way in any

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Case 8:15-cr-00142-JLS Document 7 Filed 11/16/15 Page 22 of 29 Page ID #:37

investigation, criminal prosecution, or civil, administrative, or
regulatory action.

Cc. The USAO will be free to criminally prosecute
defendant for false statement, obstruction of justice, and perjury
based on any knowingly false or misleading statement by defendant.

d. In any investigation, criminal prosecution, or civil,
administrative, or regulatory action: (i) defendant will not assert,
and hereby waives and gives up, any claim that any Cooperation
Information was obtained in violation of the Fifth Amendment
privilege against compelled self-incrimination; and (ii) defendant
agrees that any Cooperation Information and any Plea Information, as
well as any evidence derived from any Cooperation Information or any
Plea Information, shall be admissible against defendant, and
defendant will not assert, and hereby waives and gives up, any claim
under the United States Constitution, any statute, Rule 410 of the
Federal Rules of Evidence, Rule 11(f) of the Federal Rules of
Criminal Procedure, or any other federal rule, that any Cooperation
Information, any Plea Information, or any evidence derived from any
Cooperation Information or any Plea Information should be suppressed
or is inadmissible.

28. Following the Court’s finding of a knowing breach of this
agreement by defendant, should the USAO choose to pursue any charge
or any civil, administrative, or regulatory action that was either
dismissed or not filed as a result of this agreement, then:

a. Defendant agrees that any applicable statute of
limitations is tolled between the date of defendant’s signing of this

agreement and the filing commencing any such action.

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Case 8:15-cr-00142-JLS Document 7 Filed 11/16/15 Page 23 of 29 Page ID #:38

b. Defendant waives and gives up all defenses based on
the statute of limitations, any claim of pre-indictment delay, or any
speedy trial claim with respect to any such action, except to the
extent that such defenses existed as of the date of defendant's
signing this agreement.

COURT AND PROBATION OFFICE NOT PARTIES

 

29. Defendant understands that the Court and the United States
Probation Office are not parties to this agreement and need not
accept any of the USAO’s sentencing recommendations or the parties’
agreements to facts or sentencing factors.

30. Defendant understands that both defendant and the USAO are
free to: (a) supplement the facts by supplying relevant information
to the United States Probation Office and the Court, (b) correct any
and all factual misstatements relating to the Court’s Sentencing
Guidelines calculations and determination of sentence, and (c) argue
on appeal and collateral review that the Court’s Sentencing
Guidelines calculations and the sentence it chooses to impose are not
error, although each party agrees to maintain its view that the
calculations in paragraph 18 are consistent with the facts of this
case. While this paragraph permits both the USAO and defendant to
submit full and complete factual information to the United States
Probation Office and the Court, even if that factual information may
be viewed as inconsistent with the facts agreed to in this agreement,
this paragraph does not affect defendant’s and the USAO’s obligations
not to contest the facts agreed to in this agreement.

31. Defendant understands that even if the Court ignores any
sentencing recommendation, finds facts or reaches conclusions
different from those agreed to, and/or imposes any sentence up to the

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||Case 8:15-cr-00142-JLS Document 7 Filed 11/16/15 Page 24o0f 29 Page ID #:39

maximum established by statute, defendant cannot, for that reason,
withdraw defendant’s guilty plea, and defendant will remain bound to
fulfill all defendant’s obligations under this agreement. Defendant
understands that no one -- not the prosecutor, defendant’s attorney,
or the Court -- can make a binding prediction or promise regarding
the sentence defendant will receive, except that it will be within
the statutory maximum.

NO ADDITIONAL AGREEMENTS

 

32. Defendant understands that, except as set forth herein,
there are no promises, understandings, or agreements between the USAO
and defendant or defendant’s attorney, and that no additional
promise, understanding, or agreement may be entered into unless in a
writing signed by all parties or on the record in court.

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- Case 8:15-cr-00142-JLS Document 7 Filed 11/16/15 Page 25of 29 Page ID #:40

1 PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING

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33. The parties agree that this agreement will be considered
3 j/part of the record of defendant’s guilty plea hearing as if the

4 |j}entire agreement had been read into the record of the proceeding.
5 AGREED AND ACCEPTED

6 UNITED STATES ATTORNEY'S OFFICE

FOR THE CENTRAL DISTRICT OF

7 CALIFORNIA

6 EILEEN M. DECKER
United Atates Attorney

   
   

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SCOTT D, TENLEY Daté
ll || Assistaat,United States Attorney

 

 

 

 

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13 TAN ESTER — Date
Def da
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14 We Nn LA i Aifls
15 || "MARK WERKSMAN Date / /
Attorney for Defendant
6 || MITCHELL G. COHEN
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CERTIFICATION OF DEFENDANT

 

I have read this agreement in its entirety. I have had enough
time to review and consider this agreement, and I have carefully and
thoroughly discussed every part of it with my attorney. I understand
the terms of this agreement, and I voluntarily agree to those terms.
I have discussed the evidence with my attorney, and my attorney has
advised me of my rights, of possible pretrial motions that might be
filed, of possible defenses that might be asserted either prior to or
at trial, of the sentencing factors set forth in 18 U.S.C. § 3553 (a),
of relevant Sentencing Guidelines provisions, and of the consequences
of entering into this agreement. No promises, inducements, or
representations of any kind have been made to me other than those
contained in this agreement. No one has threatened or forced me in
any way to enter into this agreement. I am satisfied with the
representation of my attorney in this matter, and I am pleading
guilty because I am guilty of the charge and wish to take advantage
of the promises set forth in this agreement, and not for any other

reason

  

, {\ ; | | * [|- /g
MITCHELL \G.\@OHEN Date

Defendant

 

 

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- Case 8:15-cr-00142-JLS Document 7 Filed 11/16/15 Page 27 of 29 Page ID #:42

CERTIFICATION OF DEFENDANT'S ATTORNEY

I am MITCHELL G. COHEN’s attorney. I have carefully and
thoroughly discussed every part of this agreement with my client.
Further, I have fully advised my client of his rights, of possible
pretrial motions that might be filed, of possible defenses that might
be asserted either prior to or at trial, of the sentencing factors
set forth in 18 U.S.C. § 3553(a), of relevant Sentencing Guidelines
provisions, and of the consequences of entering into this agreement.
To my knowledge: no promises, inducements, or representations of any
kind have been made to my client other than those contained in this
agreement; no one has threatened or forced my client in any way to
enter into this agreement; my client's decision to enter into this
agreement is an informed and voluntary one; and the factual basis set
forth in this agreement is sufficient to support my client's entry of
a guilty plea pursuant to this agreement.

MWg. LL wa ly

MARK WERKSMAN Date
Attorney for Defendant
MITCHELL G. COHEN

 
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- Case 8:15-cr-00142-JLS Document 7 Filed 11/16/15 Page 28 of 29 Page ID #:43

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

SOUTHERN DIVISION

UNITED STATES OF AMERICA, SA CR No. 15-
Plaintiff, INFORMATION
Vv. [26 U.S.C. § 7206(1): Making and

Subscribing to a False Tax Return]
MITCHELL G. COHEN,

Defendant.

 

 

 

 

The United States Attorney charges:
[26 U.S.C. § 7206(1)]

On or about February 21, 2012, within the Central District of
California, and elsewhere, defendant MITCHELL G. COHEN, a resident of
Newport Coast, California, willfully made and subscribed to a false
United States Individual Income Tax Return, Form 1040, for the
calendar year 2011, which was verified by written declaration that it
was made under the penalties of perjury, which was filed with the
Internal Revenue Service, and which defendant COHEN did not believe
to be true and correct as to every material matter, in that defendant
COHEN falsely reported, on line 22 of such Form 1040, that his total

income for the calendar year 2011 was $337,678, when, in truth and in

EXHIBIT

 

 
» Case 8:15-cr-00142-JLS Document 7 Filed 11/16/15 Page 29 of 29 Page ID #:44

fact, as defendant COHEN then well knew and believed, his total

income for the calendar year 2011 was substantially higher.

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EILEEN M. DECKER
United States Attorney

LAWRENCE S. MIDDLETON
Assistant United States

Attorney

Chief, Criminal Division

DENNISE D. WILLETT
Assistant United States
Chief, Santa Ana Branch

JOSEPH T. MCNALLY
Assistant United States
Deputy Chief, Santa Ana
Office

JOSHUA M. ROBBINS
Assistant United States

SCOTT D. TENLEY
Assistant United States

ASHWIN JANAKIRAM

Attorney
Office

Attorney
Branch

Attorney

Attorney

Special Assistant United States

Attorney

 
